Case 4:13-cr-00628 Document 962 Filed in TXSD on 08/16/16 Page 1 of
                                                                 Vol70 9 - 1



   1                     UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
   2                           HOUSTON DIVISION
   3
         UNITED STATES OF AMERICA                      *      4:13-CR-00628-1
   4                                                   *
         VS.                                           *      10:06 a.m.
   5                                                   *
         HORTENCIA MEDELES-ARGUELLO                    *      APRIL 23, 2015
   6
               REDACTED EXCERPT OF TRIAL - CLOSING STATEMENTS
   7                 BEFORE THE HONORABLE DAVID HITTNER
                                 AND A JURY
   8                       Volume 1 of 1 Volume
   9 APPEARANCES:
  10 FOR THE UNITED STATES OF AMERICA:
     Mr. Ruben R. Perez
  11 Mr. Joseph C. Magliolo
     Assistant United States Attorney
  12 1000 Louisiana
     Suite 2300
  13 Houston, Texas 77002
     (713) 567-9344
  14
     FOR THE DEFENDANT, HORTENCIA MEDELES-ARGUELLO:
  15 Mr. Ali R. Fazel
     Scardino and Fazel
  16 1004 Congress
     Third Floor
  17 Houston, Texas 77002
     (713) 229-9292
  18
     INTERPRETERS:
  19 Mr. Ramon Del-Villar
     Ms. Linda Hernandez
  20 Ms. Graciela Dachman
     Mr. Gregorio Ayala
  21
     Court Reporter:
  22 Laura Wells, RPR, RMR, CRR
     515 Rusk, Suite 8016
  23 Houston, Texas 77002
  24 Proceedings recorded by mechanical stenography.
     Transcript produced by computer-assisted transcription.
  25

                      Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 2 of
                                               Perez                        Vol70 9 - 2



              1        (Beginning of requested excerpt, as follows:)
              2             MR. PEREZ: Thank you, Your Honor. Good morning
              3 or good afternoon? It is still good morning. Good
              4 morning.
11:58:03      5        On behalf of the agents, these fine men and women who
              6 represent the United States in protecting us, on behalf of
              7 Mr. Magliolo and myself, and especially on behalf of the
              8 victims in this case, the victims of modern-day slavery, I
              9 want to really from the bottom of our respective hearts
11:58:22     10 thank you for your time and effort in listening to the
             11 evidence in this case. I know it's taken you out of your
             12 jobs and your daily routines. And as the Judge said, we
             13 have moved along at a very fast pace. But again, thank
             14 you very much for your time.
11:58:37     15             THE COURT: By the way, ladies and gentlemen,
             16 this case moved along very quickly for this complex case.
             17 I want to thank the attorneys, also, for moving it along.
             18             MR. PEREZ: Thank you, Your Honor.
             19        I ask you, in listening to the evidence, you can use
11:58:49     20 your common sense. You didn't leave your common sense at
             21 the doorway when you came to court here today. You can
             22 use your common sense and your everyday experiences in
             23 evaluating the facts in this case.
             24        If I say something that did not come out in evidence,
11:59:04     25 please disregard it because 12 pairs of ears are better

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 3 of
                                               Perez                        Vol70 9 - 3



              1 than the one here. I don't mean to misstate the truth.
              2 So if I say something you didn't hear, you just disregard
              3 it.
              4        The Judge has given you instructions. As he said, he
11:59:21      5 is the judge of the law; and you are the judge of the
              6 facts. I want to go over the law very briefly to
              7 emphasize some parts that I think were really important in
              8 this case.
              9        On Page 10, the defendant is the one on trial here.
11:59:36     10 You are here to decide whether the government has proven
             11 its case beyond a reasonable doubt that the defendant is
             12 guilty of the crimes charged. Neither are you called upon
             13 to return a verdict of guilty as to any other person or
             14 persons not on trial as a defendant in this case.
11:59:56     15        So the defendant is the one on trial here. I know
             16 Mr. Ali has cross-examined numerous people on different
             17 issues. And again, as the Judge has instructed you, the
             18 defendant is the one on trial. We are here because of
             19 what the defendant did. That's why we are here.
12:00:17     20        The Judge is also going to -- has instructed you on
             21 this issue. The defendant is charged with conspiracy to
             22 commit sex trafficking that occurred between 2009 and
             23 October the 10th, 2013. The defendant is further charged
             24 with conspiracy to harbor illegal aliens between January
12:00:34     25 1999 and October the 10th, 2013.

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 4 of
                                               Perez                        Vol70 9 - 4



              1        Evidence of a crime, wrong or other acts that may have
              2 occurred between 1999 and January of 2009, as testified to
              3 by numerous young women, numerous victims, are not
              4 admitted to prove the defendant's character in order to
12:00:54      5 show that on a particular occasion the defendant acted in
              6 accord with her character. You must not consider any of
              7 this evidence in deciding the defendant committed the acts
              8 charged relating to the sex trafficking conspiracy.
              9        The evidence may be admissible in the sex trafficking
12:01:13     10 conspiracy only to prove the defendant's motive,
             11 opportunity, intent, preparation, plan, knowledge,
             12 identity, absence of mistake or lack of accident. The
             13 evidence is admissible for all purposes as to the
             14 conspiracy to harbor illegal aliens charge that occurred
12:01:32     15 between January 1999 and October the 10th, 2013.
             16        Another thing that I would emphasize to you on the
             17 same page, on this Page 11, is that if a defendant is
             18 found guilty it will be the Judge's duty to decide what
             19 the punishment will be. You should not be concerned with
12:01:50     20 punishment in any way. It should not enter into your
             21 consideration or discussion.
             22        I know Mr. Ali talked about the ranges of punishment
             23 that different people may have been exposed to, what
             24 punishment the defendant may be exposed to. That is not
12:02:08     25 your concern. That is up to the Judge. And he has told

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 5 of
                                               Perez                        Vol70 9 - 5



              1 you, this Honorable Judge, has given it to you in writing
              2 that it's up to him.
              3        At the beginning of this case in opening statements I
              4 told you that at the end of the trial the Judge was going
12:02:24      5 to instruct you as to what crime the defendant is accused
              6 of and what you as the judges of facts are determined to
              7 find the defendant guilty or not guilty. Obviously, based
              8 on the evidence that we have submitted, I submit to you
              9 that the evidence clearly shows she is guilty of all
12:02:42     10 counts.
             11        Now, the conspiracy to commit sex trafficking is on
             12 the bottom of Page 15; but I'm going to try to break it
             13 down. Okay. One way for the defendant, Tencha, to be
             14 found guilty of conspiracy to sex traffic is -- one way is
12:03:17     15 for her to agree with at least one other person to provide
             16 a place for prostitution to occur, knowingly or recklessly
             17 disregarding the fact that the girls were doing it against
             18 their will. That is, they were forced or tricked or both.
             19 If you find unanimously that she did that, she is guilty
12:03:37     20 of conspiracy to commit sex trafficking.
             21             THE COURT: Hold it. Yes, sir.
             22             MR. FAZEL: Objection, Your Honor. That
             23 misstates the law. That's incorrect.
             24             MR. PEREZ: That is not incorrect, Your Honor.
12:03:44     25             THE COURT: What is your objection?

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 6 of
                                               Perez                        Vol70 9 - 6



              1             MR. FAZEL: That is a misstatement of the law.
              2 The prostitution term he threw in there is a misstatement.
              3             THE COURT: Say it again.
              4             MR. FAZEL: The term prostitution is a
12:03:53      5 misstatement of the law. I object.
              6             THE COURT: What should it be?
              7             MR. FAZEL: It can't be prostitution if -- what
              8 he is saying is that if she agreed for prostitution and he
              9 ought to say if she is aware of the fact that these girls
12:04:04     10 are engaged in some activity then that's an element to the
             11 crime of conspiracy.
             12             MR. PEREZ: Not true, Your Honor. It's a
             13 conspiracy, Your Honor. She didn't even have to touch
             14 them.
12:04:13     15             THE COURT: Ladies and gentlemen, you read the
             16 instructions as I gave it to you. Okay. What the
             17 attorneys say is not the law and is not the facts of the
             18 case. It's as they remember it and they want to bring it
             19 to my attention.
12:04:28     20        For the record, he is entitled to a ruling.
             21 Overruled.
             22             MR. FAZEL: Yes, sir.
             23             MR. PEREZ: As I was saying, the defendant agrees
             24 with at least one other person to provide a place for
12:04:38     25 prostitution to occur, knowingly or recklessly

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 7 of
                                               Perez                        Vol70 9 - 7



              1 disregarding the fact that the girls were engaged in
              2 prostitution there doing it against their will, that is,
              3 that they were either being forced or tricked or both. Or
              4 a second way --
12:04:56      5             THE COURT: I'll tell you what I'm going to ask
              6 you to do. I am going to stop the clock. I want those
              7 charts down unless you need them. If you need them, pull
              8 them up. Are you going to use them right away?
              9             MR. PEREZ: Not right away, Your Honor.
12:05:07     10             THE COURT: All right. Put them down. When you
             11 need them, we'll put them up. Okay. It's just that we
             12 have the problem here with the pole, and it's a public
             13 forum. I just don't want people blocked. Okay. I have
             14 stopped the clock, by the way. Any time you need them up,
12:05:22     15 we'll get them up; and we will put them right down.
             16             MR. PEREZ: Thank you, Your Honor.
             17             THE COURT: Go right ahead, please.
             18             MR. PEREZ: Now, A-3a, doing it against their
             19 will. They were forced or tricked or both. A-3a, Page
12:05:52     20 3 -- actually, Page 4.
             21             THE COURT: Okay. Do you want to now enlarge it
             22 a little bit?
             23             MR. PEREZ: Yes. Page 3 or --
             24             THE COURT: What we are looking at?
12:06:05     25             MR. PEREZ: Page 3. This is evidence that the

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 8 of
                                               Perez                        Vol70 9 - 8



              1 girls were doing it against their will.
              2             THE COURT: Now, what is it we are specifically
              3 looking at?
              4             MR. PEREZ: Your Honor, I was going to read this.
12:06:18      5 There is an excuse going to a doctor where there is a
              6 discussion about one of the girls being black and blue.
              7 It says there --
              8             THE COURT: What is "UI", just for those who may
              9 not know what that is?
12:06:35     10             MR. PEREZ: Unintelligible.
             11             THE COURT: What is "OV"?
             12             MR. PEREZ: Not sure, quite frankly, Your Honor.
             13             THE COURT: Somebody tell me. What does "OV"
             14 mean?
12:06:46     15             AGENT BRADLEY: Overlapping.
             16             THE COURT: Overlapping. Do you mean talking one
             17 over the other?
             18             AGENT BRADLEY: Yes, sir.
             19             THE COURT: Okay.
12:06:53     20             MR. PEREZ: She says, "I saw her black and blue
             21 marks, big ones. One here and -- and I saw that she had
             22 one here. And I saw one here, a big, huge black and blue
             23 mark and -- and I think she also had one over here."
             24             THE COURT: Now, "CHS," confidential human
12:07:10     25 source? The undercover person?

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
           Case 4:13-cr-00628 Document by
                  Closing Statement    962Mr.
                                           Filed in TXSD on 08/16/16 Page 9 of
                                               Perez                        Vol70 9 - 9



              1             MR. PEREZ: Yes, sir.
              2             THE COURT: All right.
              3             MR. PEREZ: Tencha then says, "I think he put her
              4 in the hospital."
12:07:17      5        Confidential source says, "Who put her in the
              6 hospital?"
              7        She then says, "Her pimp."
              8        "You think the pimp put her in the hospital?"
              9        "Yes. He beat her up and put her in the hospital.
12:07:26     10 She was going to bring that thing."
             11        From her own mouth -- from her own mouth she says, I
             12 know that the pimps put them in the hospital. From her
             13 own mouth.
             14        Then on Page A-1a, Page 4, starting right there. "But
12:08:02     15 that one, she says that she requested a two-weeks
             16 vacation."
             17        Tencha says, "Oh, yes. She told me that."
             18        CHS says, "Maybe she was also beaten up by her pimp."
             19        She mumbles, "Right."
12:08:13     20        He goes, "Uh?"
             21        She chuckles. She laughs. She knows that the pimps
             22 beat those girls to make them work at her location.
             23        A second way that this defendant can be convicted of
             24 conspiracy to commit sex trafficking is for her to agree
12:08:34     25 with at least one other person to provide a place for

                                 Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 10Vol
                                                                         of 70
                                                                             9 - 10



            1 prostitution to occur, knowingly or recklessly
            2 disregarding the fact that the girls are minors. That is,
            3 that they are under the age of 18.
            4            MR. FAZEL: Judge, may I have a continuing
12:08:50    5 objection to the term "prostitution"? It has to be forced
            6 sex.
            7            MR. PEREZ: Not if it's a minor, Your Honor.
            8            THE COURT: Okay. You have a running objection.
            9 You needn't get up each time.
12:09:00   10            MR. FAZEL: Yes, sir.
           11            MR. PEREZ: In the first two ways of committing
           12 the sex trafficking Tencha is actually a member of a sex
           13 trafficking conspiracy. Other people supply the girls.
           14 Tencha provides the place. She provides Las Palmas. The
12:09:16   15 pimps provide the place -- provide the girls. She
           16 provides the place knowing that they are either forced to
           17 go there or tricked to go there; or if they are minors, we
           18 don't have to prove force, fraud or coercion.
           19        A third way that Tencha can be guilty of conspiracy to
12:09:39   20 commit sex trafficking is to agree with at least one other
           21 person to benefit financially; that is, to make money.
           22 And, whoa, we know she made a lot of money from a sex
           23 trafficking conspiracy. Again, knowingly or recklessly
           24 disregarding the fact that the girls were doing it against
12:09:58   25 their will.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 11Vol
                                                                         of 70
                                                                             9 - 11



            1      Four -- a third -- a fourth way for her to be guilty
            2 of conspiracy to commit sex trafficking is to agree with
            3 at least one other person to benefit financially; that is,
            4 again, to make money. And again, made a lot of money from
12:10:19    5 the sex trafficking conspiracy knowingly or recklessly
            6 disregarding the fact that the girls were minors. Again,
            7 we don't have to prove force, fraud or coercion if they
            8 were minors under the age of 18.
            9      And the third and fourth way of committing this
12:10:48   10 conspiracy to commit sex trafficking, she doesn't even
           11 have to engage in any of the sex trafficking activities,
           12 as the Court instructs you on Page 19. At the top of the
           13 page it says the government would not have to prove that a
           14 defendant himself or herself engaged in any of the
12:11:10   15 trafficking activities. Very clear. That's what the
           16 Court gave you.
           17      As the Court instructs you on Page 19, which I just
           18 read, just that she agrees with someone else, who would
           19 include anybody she paid for working with her facilitating
12:11:28   20 the prostitution. That would include anybody from the
           21 person who took the $5 at the booth, from the person who
           22 took the money on the second floor of the prostitution
           23 rooms, for the people who receive the money for the
           24 condoms, for the towels, for everything that occurred that
12:11:46   25 made money at that location. The evidence is overwhelming

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 12Vol
                                                                         of 70
                                                                             9 - 12



            1 that the defendant was running her brothel and profiting
            2 from it.
            3      Exhibit 39a, please.
            4      Okay. This was not put up there, but I know it was
12:12:22    5 introduced into evidence. All these, the analysis that
            6 Agent Tan testified to -- when she testified, her
            7 testimony showed that from February 15th through 2012
            8 through August the 26th of 2013, which is certainly within
            9 the time of the conspiracy for the sex trafficking, she
12:12:47   10 made a total of $1,607,400, U.S. dollars.
           11            MR. MAGLIOLO: The final one.
           12            MR. PEREZ: $1,607,400. I can't count that high.
           13 $1,607,400. Look at the number of times providing this
           14 place for the prostitution to occur. From that time
12:13:38   15 period, in the 19 months that Agent Tan did an analysis --
           16 this comes from the room sheets.
           17      Remember Juan Carlos Munoz, one of the informants,
           18 produced these line sheets every day and would meet every
           19 Tuesday with Deputy Edwin. 64,296 times were those rooms
12:14:06   20 used. Overwhelming evidence that she provided a place for
           21 these girls to engage in prostitution there against their
           22 wills or being minors.
           23      64,296 just in that time period. That doesn't include
           24 all the rest of the time that she ran that prostitution
12:14:24   25 place from January 2009, that you can consider, to October

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 13Vol
                                                                         of 70
                                                                             9 - 13



            1 2013.
            2      And on some days the rooms were used over 300 times a
            3 day. And she wants to -- 300 times a day that these young
            4 girls were subjected to slavery.
12:14:52    5      You also heard from Jorge Teloxa-Barbosa, how he gave
            6 her the first $20,000 every week. Just imagine $20,000
            7 every week. Yes, she benefited financially from that
            8 place, from that sex trafficking conspiracy, from these
            9 girls who were adults but they were forced or tricked into
12:15:19   10 working there, or minors.
           11      Of course, the sex trafficking activities have to
           12 affect interstate or foreign commerce, which means
           13 basically state lines have to be crossed. One of the
           14 reasons we brought you the box of condoms is to show you
12:15:32   15 that they were made in Korea, distributed out of
           16 California. That affects interstate commerce.
           17      One of the questions that I asked the informant was
           18 "Was Corona sold there?"
           19      "Yes."
12:15:46   20      "Where was it made?"
           21      "In Mexico."
           22      Again, that affects interstate commerce. If you read
           23 the instruction that the Court gave you, however
           24 minimal -- however minimal it affects interstate commerce
12:15:58   25 is enough.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 14Vol
                                                                         of 70
                                                                             9 - 14



            1      Now I'm going to go over the testimony that these
            2 victims testified to. Before 2009 you can use the
            3 testimony of these girls, as I said, only for the other
            4 things the Judge gave you, like opportunity, plan, motive
12:16:26    5 and so forth; but you can't consider their testimony in
            6 the harboring conspiracy that occurred from 1999 to 2013.
            7      Let's talk about XXXXXXXXXXXX. The defendant
            8 specifically asked her if she had any papers; and she
            9 said, no. XXXXXXXXXXXX said no. That's evidence that you
12:16:53   10 can consider about the harboring. She is from Mexico.
           11      XXXXXXXXXXXXXXXXXX, also an illegal alien from Mexico,
           12 testified that the defendant complained that a person had
           13 not paid her for the cost of smuggling the two male
           14 relatives working for the defendant. Again, evidence of a
12:17:17   15 conspiracy to harbor aliens.
           16      You heard from XXXXXXXXXXXXXX, who worked there from
           17 May 2003 to May 2007, illegally from Mexico. Certainly
           18 she testified that she was illegal. She worked there.
           19      Then you heard from XXXXXXXXXXXXXXXXX, who was a minor
12:17:42   20 who worked there. And again, you can consider this for
           21 the harboring conspiracy. She worked at Las Palmas in
           22 2004 and a second time from April to July of 2005. You
           23 can consider that for the harboring.
           24      You heard from XXXXXXXXXXXXX, also a minor, illegally
12:18:06   25 from Mexico. She was hired by the defendant to work at

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 15Vol
                                                                         of 70
                                                                             9 - 15



            1 Las Palmas. She was an illegal alien. Another victim
            2 that -- or another witness that you can use to evaluate
            3 whether she is guilty of the conspiracy of harboring
            4 aliens.
12:18:24    5      You heard from XXXXXXXXXXXXX, who is also a minor, an
            6 illegal from Mexico, who worked at Las Palmas from May of
            7 2005 to July of 2005, that she also was an illegal alien
            8 who was from Mexico.
            9      It seems like everybody who worked there, anybody she
12:18:43   10 dealt with was an illegal alien. And remember at the time
           11 that the officers arrested these defendants in October
           12 2013, Pierre Perry from Homeland Security said that, I
           13 think it was, like, 26 people -- I don't want to misstate
           14 what he said. Out of the 26, I think 25 or possibly 26
12:19:04   15 were all illegal aliens. He told you all that. Again,
           16 this place was just running over with illegal aliens.
           17 It's a place to conspire to harbor illegal aliens.
           18      Let's talk about the witnesses who testified about
           19 events that occurred after 2009. You heard from XXXXX
12:19:28   20 XXXXXXXXXX, an illegal from Mexico. And at the beginning
           21 when I did the opening statement I told you you were going
           22 to hear from these young women, and I told you what I
           23 anticipated their testimony would be. And they testified
           24 as to what happened. And I'm going to go ahead and tell
12:19:44   25 you. I will try to summarize, at least briefly, as to

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 16Vol
                                                                         of 70
                                                                             9 - 16



            1 what their testimony was.
            2      She worked at Las Palmas from December of 2008 to
            3 April 2012. She identified Tencha as the owner of Las
            4 Palmas. If you will recall, she testified that the
12:20:01    5 defendant addressed her and about 30 other women that she
            6 did not want their pimps bringing them to work. Again,
            7 aware that pimps were supplying the girls. She set the
            8 rules. The girls were to take a taxi or drive themselves
            9 because the police were taking down license plates of the
12:20:20   10 vehicles.
           11      The defendant did not want the girls to show up with
           12 signs of bruises because she did not want the police
           13 alerted. She did not care that they were beaten. She
           14 just did not want the police snooping around. Again,
12:20:33   15 evidence that she was aware that the girls were forced to
           16 work at her place.
           17           THE COURT: Yes, sir.
           18           MR. FAZEL: Objection. That is misstating,
           19 mischaracterizing the evidence. There was no evidence
12:20:42   20 that she did not care whether they were beaten, bruised or
           21 she just didn't want to get caught. That's a misstatement
           22 of facts.
           23           THE COURT: Ladies and gentlemen, I elect not to
           24 comment on the evidence. You heard the objection. You
12:20:54   25 will recall the evidence as you heard during trial, and

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 17Vol
                                                                         of 70
                                                                             9 - 17



            1 you'll act upon that evidence as you perceived it and
            2 remember it.
            3      Go right ahead, sir.
            4           MR. PEREZ: Certainly the jury can infer from the
12:21:04    5 evidence as to what occurred, as well, Your Honor.
            6           THE COURT: Well, you are talking about what?
            7 The circumstantial?
            8           MR. PEREZ: Well, I'm just saying that --
            9           THE COURT: Well, that's -- you can argue to the
12:21:11   10 jury. Not to me.
           11           MR. PEREZ: Okay.
           12           THE COURT: Talk to the jury, please.
           13           MR. PEREZ: There can be direct evidence. There
           14 can be circumstantial evidence. You can certainly infer
12:21:18   15 from either direct or circumstantial evidence what
           16 occurred.
           17      You can also infer or there may even be testimony the
           18 defendant didn't care how old the girls were so as long as
           19 they showed IDs showing they were older. Every girl who
12:21:37   20 testified who was a minor had a fake ID. So long as you
           21 have a fake ID, I don't care whether you are a minor or an
           22 adult so as long as you have one. I don't care if you are
           23 a minor. You can work here.
           24      Further evidence that the defendant knew that the
12:21:49   25 girls who worked there were forced or beaten or whatever,

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 18Vol
                                                                         of 70
                                                                             9 - 18



            1 forced to work there, was according to Rosa Tzompantzi's
            2 testimony. La Morena, Tencha's niece, a co-conspirator in
            3 this case, La Morena-Hernandez' picture on the board over
            4 there, she would check for bruises on the girls. In one
12:22:10    5 instance La Morena, XXXXXXXXXXXXXXX told you, sent a girl
            6 home for having bruises after one of the pimps had beat
            7 her up after doing a check; and the poor girl gets beaten
            8 up for getting sent home because of the bruises that he
            9 had inflicted on her and beat her up again.
12:22:30   10        There was also testimony from XXXXXXXXXXXXXXX that she
           11 recalled five underage girls were working at Las Palmas
           12 and that everybody knew that anybody there at Las Palmas
           13 was illegal. Again, you can consider this for either the
           14 sex trafficking and the harboring.
12:22:47   15        You heard from XXXXXXXXXXXXX. She was from Honduras.
           16 She worked at Las Palmas from November to December 2012.
           17 A method of control for her was threats to harm her child
           18 and forced abortion prior to the pimp bringing her to the
           19 U.S.
12:23:07   20        Again, Tencha, the owner of the bar. All of the money
           21 these girls gave to Las Palmas, they all went to the
           22 defendant.
           23        Evidence about harboring, she told Odelia, another
           24 co-conspirator in this case pictured on the board, that
12:23:21   25 she was illegally in the United States. Again, a

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 19Vol
                                                                         of 70
                                                                             9 - 19



            1 conspiracy and the Judge has extensively read the
            2 conspiracy statute to you.
            3      You also heard from XXXXXXXXXXXXXXXXX, another illegal
            4 from Mexico. She worked at Las Palmas from May/June 2010
12:23:40    5 to March 2011. Method of control for her was beating her.
            6 She knew the defendant as the owner, as they all knew the
            7 defendant as the owner. The defendant would come every
            8 night to pick up the money from the use of the
            9 prostitution rooms. Benefited financially. Every night
12:23:56   10 she would come to pick up the money from the use of the
           11 prostitution rooms. She would also see Tencha counting
           12 money there at that location. Other evidence that she
           13 benefited financially from her location.
           14      She testified that the defendant held at least two
12:24:17   15 meetings where the defendant told the girls not to mention
           16 her or anything about the pimps if the police came. Other
           17 evidence that she was in the conspiracy with the pimps.
           18 She provided the place. They provided the girls. But
           19 don't tell the police about the pimps.
12:24:36   20      You heard from XXXXXXXXXXXXX, a minor. Again, no need
           21 to prove force, fraud or coercion. That she was illegally
           22 in the country while working at Las Palmas as a
           23 prostitute. That she worked there from February of 2011.
           24 That she again knew the defendant as the owner. And just
12:24:55   25 like the other girls, the defendant received a portion of

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 20Vol
                                                                         of 70
                                                                             9 - 20



            1 the prostitution money for the use of the room and the
            2 condoms.
            3      She also identified Tencha as the owner of Las Palmas
            4 who represented -- reprimanded her for being near the
12:25:19    5 front door. And again, all this is additional evidence
            6 that Tencha was the owner, the outside manager. She knew
            7 -- was always trying to keep up with what was going on
            8 there at that location.
            9      You heard from XXXXXXXXXXXXXXX, also a minor, who was
12:25:37   10 also known as XXXXXXXXXXXXXXXXXXX. She was illegally in
           11 the country. She worked at Las Palmas from January 2011
           12 through November 2011. Again, that Tencha kept a portion
           13 of the money made from the use of the room and the condoms
           14 and that her pimp regularly controlled her by beating her.
12:25:57   15 Co-conspirator Odelia Hernandez also reprimanded her for
           16 taking a break inside the room.
           17      You heard testimony that she came forward and told
           18 Deputy Chapuseaux that on March 28th, 2015, about her
           19 being a victim of human trafficking. She told you. She
12:26:15   20 told you that Deputy Chapuseaux tried to rescue her in
           21 2011 and 2012, but she did not come forward because of the
           22 overwhelming fear of her pimp and for the safety of her
           23 family.
           24      The pimps provided the girls. She provided the place.
12:26:31   25      You heard from XXXXXXXXXXXXX, another minor from

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 21Vol
                                                                         of 70
                                                                             9 - 21



            1 Mexico, also illegally in the country, when she worked at
            2 Las Palmas. She worked at Las Palmas from March to August
            3 2012. She also identified Tencha as the owner of the
            4 place and that Tencha kept the money made from the use of
12:26:49    5 the prostitution rooms.
            6      You heard testimony from two HPD officers about the
            7 numerous law enforcement raids and operations that took
            8 place at that location. And, you know, they kept going
            9 there to no effect, going there to no effect, going there
12:27:15   10 to no effect. The money was just too great. You can
           11 infer from the evidence that the money was just too great.
           12 They would try to get there and try to shut it down, and
           13 they just kept moving and moving. The money was just too
           14 great. But what she tries to do is distance herself from
12:27:29   15 the operation of Las Palmas.
           16           THE COURT: Now, are you done with those charts?
           17           MR. PEREZ: Yes, Your Honor.
           18           THE COURT: For now?
           19           MR. PEREZ: Yes, Your Honor.
12:27:34   20           THE COURT: Get them down, please. Thank you.
           21           MR. PEREZ: Thank you, Your Honor.
           22      You heard testimony that the defendant is trying to
           23 distance herself from that location and maybe even trying
           24 to sell the place for $450,000. You heard testimony, as
12:28:02   25 she told the confidential informant, to erase those phone

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 22Vol
                                                                         of 70
                                                                             9 - 22



            1 calls. I just don't want to be known as having anything
            2 to do with this location, with this place.
            3      Juan Carlos Munoz, A-6a, Page 4; and in that
            4 particular transcript in her own words Tencha says that
12:28:36    5 the pimp talked to her to try to convince her for one of
            6 the girls to work there. And then, on Page 4, she also
            7 says that the pimps trained the girls well. Again, she
            8 knows what those pimps do in order for them to work at
            9 that location.
12:29:21   10      You can take that down.
           11      On Page 22 -- I'm going slowly because I want to make
           12 sure. I usually don't talk this slow, as you can tell
           13 from when I'm asking questions. I'm going really slow
           14 here to make sure that I don't misstate anything, to make
12:29:43   15 sure that I get all the evidence that was presented and
           16 that I make sure that I really direct your attention to
           17 what this defendant did.
           18      On Page 22, the Court instructs you that in order for
           19 you to find the defendant guilty of conspiracy to commit
12:30:00   20 sex trafficking you have to be unanimous on at least one
           21 of the ways I just discussed with you, the four ways. The
           22 testimony and evidence you have heard in the case clearly
           23 dictates that you should find that she committed
           24 conspiracy to commit sex trafficking in all four ways even
12:30:18   25 though you only need to find one way to find the defendant

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 23Vol
                                                                         of 70
                                                                             9 - 23



            1 guilty of conspiracy to commit sex trafficking.
            2      Four different ways that you can find. I submit to
            3 you that based on the evidence we have proved to you
            4 violation of all four ways and at least one for sure. At
12:30:35    5 least one but all four ways.
            6      On Page 24, Count 2, the defendant is charged with
            7 conspiracy to harbor illegal aliens. The Judge has told
            8 you that just in the sex trafficking conspiracy,
            9 conspiracy is an agreement between two or more persons to
12:31:03   10 join together to accomplish some unlawful purpose. It is
           11 a kind of partnership in crime in which each member
           12 becomes the agent of the other person.
           13      It also says that a defendant, just like in the sex
           14 trafficking conspiracy, if a defendant understands the
12:31:22   15 unlawful nature of a plan or scheme --
           16           THE COURT: Slow down. Now, I know you don't
           17 want to go slow but slow down a little bit because it's --
           18 I want to get it all down.
           19           MR. PEREZ: I'm trying to not run out of time.
12:31:36   20           THE COURT: I had the same thing when I had to
           21 read it. If you read it, slow down.
           22           MR. PEREZ: All right. Thank you, Your Honor.
           23      If the defendant understands the unlawful nature of a
           24 plan or scheme and knowingly and intentionally joins in
12:31:47   25 that plan or scheme on one occasion, that is sufficient to

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 24Vol
                                                                         of 70
                                                                             9 - 24



            1 convict that person for conspiracy even though the
            2 defendant had not participated before and even though the
            3 defendant only played a minor part.
            4      It's really important because in both the sex
12:32:03    5 trafficking conspiracy and in the conspiracy to commit
            6 harboring she didn't play a minor role. She played a
            7 major role. The law says even if you just commit a minor
            8 role, that's enough to get convicted of conspiracy. In
            9 this case, again, she didn't just play a minor role. She
12:32:21   10 played a major role.
           11      It says if she intentionally joins in a plan or scheme
           12 on one occasion. Well, the evidence introduced in the
           13 last week and a half showed that she just didn't do this
           14 on one occasion. She did it throughout the time that she
12:32:36   15 operated there at Las Palmas.
           16      And on Page 26 the Judge defines "harboring" as the
           17 aliens remained or entered in the United States in
           18 violation of law, that she either knew or acted in
           19 reckless disregard of the fact that the illegal alien had
12:33:02   20 entered or remained in the United States, and that she did
           21 it for the purpose of commercial or private financial
           22 gain.
           23      Everything this woman did -- everything Tencha did was
           24 for money. No question that it was for commercial
12:33:18   25 advantage or private financial gain because everything,

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 25Vol
                                                                         of 70
                                                                             9 - 25



            1 again, that she did was for money. For money. For money.
            2 For money.
            3      Page 27, aiding and abetting to commit money
            4 laundering, in Counts 3, 4 and 5 there is a lot of
12:33:45    5 language, a lot of legalese, a lot of legal terminology;
            6 but it basically boils down to in Counts 3, 4 and 5 that
            7 the defendant tried to hide the money she made at Las
            8 Palmas. She tried to hide the money from the government,
            9 from you and me, tried to hide it.
12:34:01   10           THE COURT: Yes, sir.
           11           MR. FAZEL: Judge, I object. That's a
           12 misstatement of the law.
           13           THE COURT: Ladies and gentlemen, I have given
           14 you the law. You'll follow it as I have it written.
12:34:07   15 Anything you hear from the attorneys is merely their
           16 interpretation. It's not evidence or the law itself.
           17 What you have in writing, that's what you will consider.
           18           MR. FAZEL: May I have a ruling on that, Your
           19 Honor?
12:34:17   20           THE COURT: I have given, I think, sufficient
           21 instruction. I think the instruction is sufficient. I'm
           22 not going to rule necessarily on it. I have given them
           23 the law, and you are instructed to follow the law.
           24           MR. FAZEL: Yes, sir.
12:34:31   25           MR. PEREZ: I think during some of the

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 26Vol
                                                                         of 70
                                                                             9 - 26



            1 examination of some of the witnesses Mr. Ali kept saying,
            2 well, you can find this information by going to Harris
            3 County or you can go to this and find, you know, because
            4 Tencha wasn't very good at maybe not hiding the money or
12:34:46    5 hiding the proceeds from where it was coming. And just
            6 because she was not very good at it does not make you any
            7 less guilty. She shouldn't be given any brownie points
            8 for not being very good at trying to hide the source of
            9 the moneys.
12:34:59   10      For Count 3 we called witnesses to show that around
           11 2012 she purchased a house and trailer in Channelview,
           12 Texas and transferred the title to these properties to her
           13 son, David Garcia, to hide the source of the moneys. That
           14 is, the unlawful activity of sex trafficking.
12:35:17   15      We're saying she tried to hide the money from sex
           16 trafficking. It doesn't mean -- the law doesn't say that
           17 we have to say that she tried to hide the money, the
           18 proceeds from the sex trafficking at Las Palmas. It had
           19 to be from Las Palmas. We suspect, based on the evidence,
12:35:35   20 that it did come from Las Palmas. It doesn't have to come
           21 just from Las Palmas. It can come from any sex
           22 trafficking activity.
           23      And on Count 3 that house and trailer were located at
           24 403 Elsbeth in Channelview, Texas. That house and trailer
12:35:57   25 in Channelview, Texas were in David Garcia's name.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 27Vol
                                                                         of 70
                                                                             9 - 27



            1 Remember, Mr. Magliolo asked one of the witnesses, "Well,
            2 if David never managed any of those properties, it would
            3 be a slam dunk for the United States."
            4      Well, let me say this: Listen to the evidence that
12:36:16    5 David Garcia testified to. He told you, I never put up
            6 any money. I never collected any rents. I never managed
            7 those properties. Period. I mean, he had nothing to do
            8 with those properties other than these properties being
            9 placed in his name. And if she chose to put that under
12:36:35   10 her son's name and didn't do a very good job of hiding the
           11 proceeds, then it doesn't make her any less guilty.
           12      For Count 4 the evidence we presented further showed
           13 that around 2012 she purchased a house in Channelview,
           14 Texas and transferred the title to this property to her
12:36:53   15 son's name David, again, to hide the source of the money.
           16 This house is located at 16501 North Shore Drive;
           17 Channelview, Texas.
           18      For Count 5 we presented evidence that around 2012 she
           19 purchased a house in Houston, Texas and again transferred
12:37:11   20 the title to this property to her son's name, again, to
           21 hide the source of the money. And this is Count 5. And
           22 the house is located at 1919 Freeport; Houston, Texas.
           23      Again, you heard her son, David, testify that he did
           24 not put up any money for the property, that he did not
12:37:29   25 actually own the properties, did not manage the

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 28Vol
                                                                         of 70
                                                                             9 - 28



            1 properties, didn't collect any money from those
            2 properties. It was just under his name.
            3      Then in Count 6 we presented evidence that from
            4 September 2011 to November 2011, she and her daughter,
12:37:47    5 Delia, recruited others to conduct financial transactions.
            6 This was a total of 29 checks, all under $10,000, for a
            7 total of $259,689.07. This, obviously, based on the
            8 evidence, was an effort to evade the bank filing
            9 requirements. You heard testimony that the banks are
12:38:08   10 required to file a terms and transaction report for cash
           11 transactions over $10,000.
           12      She purchased a total of 29 cashier's checks. It's
           13 not a coincidence all these checks were for under $10,000.
           14 They were all $9,000 checks made from September 2011 to
12:38:33   15 November 2011. And you will recall the testimony that
           16 some of these were at the same location. Some purchases
           17 within minutes of each other. Some purchases within days
           18 of each other. All under $9,000.
           19      You heard testimony from David Garcia, her son, who
12:38:50   20 said that she told him just to keep them under $9,000.
           21 Her own son testified to that. Keep it under $10,000.
           22 Keep it at about $9,000.
           23           THE COURT: You have used 41 minutes if that's --
           24 I know you are checking. 41 minutes.
12:39:16   25           MR. PEREZ: Thank you, Your Honor.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 29Vol
                                                                         of 70
                                                                             9 - 29



            1           THE COURT: You wanted to know. I'll still give
            2 you a 45-minute notice.
            3           MR. PEREZ: Thank you, Your Honor.
            4      You know, we have been at this for over a week, been
12:39:27    5 listening to a lot of witnesses. There were 12 girls who
            6 testified, two informants, two police officers. You heard
            7 Ms. Constance Rossiter testify about -- Mr. Ali kept
            8 talking about all these benefits these people received,
            9 how people received benefits. You heard Constance
12:39:48   10 Rossiter tell you that the benefits they are entitled to
           11 them because they are victims.
           12      The U.S. Congress -- you heard them testify. The U.S.
           13 Congress bestows these benefits on them if they are
           14 victims. They certainly are victims. Under the vigorous
12:40:04   15 cross-examination one of the girls, XXXXXXXXXXXXX, is not
           16 even in the United States. She went back to Mexico. So
           17 she has no reason for her to get up here and tell you any
           18 lie. She came in here to tell you the truth. Again, some
           19 of these people did get status in the U.S. but not her.
12:40:22   20 She went back to Mexico. She went back to her country.
           21      Now, I will say this. There has been some levity in
           22 this case. I think even I cracked a few jokes,
           23 Mr. Magliolo, Mr. Ali, the Judge. There has been some
           24 laughter and some chuckles and some levity; but this is
12:40:41   25 serious, serious, serious business. You know, these girls

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 30Vol
                                                                         of 70
                                                                             9 - 30



            1 came to the U.S. looking for the American dream; and they
            2 instead found the American nightmare. It's a nightmare
            3 what they went through. Think about the courage it takes,
            4 the embarrassment that they went through for them to get
12:41:05    5 on that witness stand and under vigorous cross-examination
            6 by a very skilled attorney to tell you what happened to
            7 them. Think about that.
            8      Now, if you feel that they are not telling you the
            9 truth, everything that they have told you has been
12:41:25   10 corroborated by this agent, by Deputy Edwin and the FBI
           11 and all the agents involved in this case.
           12      They came here in search of the American dream and
           13 instead incurred the American nightmare. And they endured
           14 that slavery, that entrapment, that enslavement of them
12:41:48   15 being in slavery because of people like the pimps and
           16 Tencha conspiring to force them into prostitution and them
           17 being minors.
           18      They didn't escape or wake up from this nightmare
           19 until the angel showed up. That angel was Deputy
12:42:10   20 Chapuseaux and his group. Did you hear -- did you see --
           21           MR. FAZEL: I object to any type of
           22 characterization of any government employee as being
           23 angels. That's bolstering. That's inappropriate
           24 argument, and it's crossing the line.
12:42:22   25           THE COURT: Overruled.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 31Vol
                                                                         of 70
                                                                             9 - 31



            1             MR. PEREZ: He is an angel. He is an angel. He
            2 is an angel to these young girls who he rescued. Just
            3 from right there from the witness stand when they said,
            4 Well, did you trust law enforcement?
12:42:38    5      No. I was told not to trust law enforcement.
            6      Well, do you recall Deputy Edwin?
            7      Yes.
            8      Do you trust him?
            9      Oh, yes, I trust him.
12:42:49   10      He rescued them from this nightmare.
           11      I am going to go ahead and close. And I just want you
           12 to try to remember this in closing: The guts that it took
           13 for those girls to come here before you and tell you what
           14 happened and the vigorous cross-examination, what it took
12:43:28   15 for them to tell you what happened to them and all the
           16 agony, the abuse, the ridicule, the embarrassment.
           17      And then, as I said, I don't care what anybody says.
           18 Deputy Edwin is an angel. He rescued them.
           19      Remember, I asked one of the girls or several of the
12:43:48   20 girls what is your life now compared to what it was when
           21 you were at the hands of people like Tencha and those
           22 pimps?
           23      Oh, much better. Much better.
           24      They woke up from that nightmare. And they are
12:44:04   25 babies. And Deputy Edwin tried -- do you remember he

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledPerez
                                   by Mr.    in TXSD on 08/16/16 Page 32Vol
                                                                         of 70
                                                                             9 - 32



            1 said, Whenever I get a call from a victim I try to
            2 corroborate their story; and especially if it's a minor, I
            3 try to get them out of that situation.
            4      Well, XXXXXXXXXXXXXXX he tried twice to get her out of
12:44:25    5 that situation. Because of the fear she didn't come
            6 forward. Thank God she came forward very recently. And
            7 again, this angel rescued her.
            8      I submit to you that -- and I'm running out of time.
            9           THE COURT: You have used 46 minutes. You are
12:44:38   10 well within the bounds.
           11           MR. PEREZ: Thank you, Your Honor.
           12      I submit to you that based on all the evidence that
           13 we've presented to you, all the evidence we've presented
           14 to you, all the credible evidence we've presented to you,
12:44:50   15 that this defendant is guilty of Count 1, conspiracy to
           16 commit sex trafficking; Count 2, conspiracy to harbor
           17 aliens; Counts 3, 4 and 5, aiding and abetting to money
           18 laundering; to Count 6, conspiracy to evade the bank
           19 filing requirements.
12:45:11   20      I'm not saying that because I say so, but that's what
           21 the evidence introduced in this case dictates that you
           22 should find her guilty of all these counts. Again, on
           23 behalf of all these people, fine people, thank you very
           24 much for your time.
12:45:23   25           THE COURT: You have used 47 minutes, and you

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628
               Hearing onDocument 962 Filed
                          Defendant's       in TXSD on 08/16/16 Page 33Vol
                                       Motion                           of 70
                                                                            9 - 33



            1 have an hour and 15 minutes.
            2      Ladies and gentlemen, I think we're moving along.
            3 We're right on schedule. We'll take a bit of a shorter
            4 lunch break. I understand that your lunch is available in
12:45:37    5 there, but everybody has to get something to eat and take
            6 a break. So we'll take 15 minutes off our usual break.
            7 We'll be back in one hour ready to resume at 1:45. We'll
            8 see you at 1:45.
            9           THE MARSHAL: All rise.
12:45:50   10      (Jury exited courtroom at 12:45 p.m.)
           11           THE COURT: Do you need to put something on the
           12 record?
           13           MR. FAZEL: I do, Your Honor. I completely
           14 appreciate the Court's ruling on the last objection I
12:46:18   15 made. I want to put a couple of cases on the record as
           16 far as inappropriate argument.
           17           THE COURT: Go on. Just speak up in the
           18 microphone.
           19           MR. FAZEL: That would be United States vs.
12:46:25   20 Garcia 522, Fed 3d, 597, Fifth Circuit, 2008; United
           21 States vs. Carol, 26 Fed 3d, 1380, Sixth Circuit 1994;
           22 United States vs. Manning, 23 Fed 3d, 570, Fifth Circuit
           23 1994; United States vs. Kerr, excuse me, 981 Fed 2d
           24 1050 --
12:46:49   25           THE COURT: What are you reading from? You are

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628
               Hearing onDocument 962 Filed
                          Defendant's       in TXSD on 08/16/16 Page 34Vol
                                       Motion                           of 70
                                                                            9 - 34



            1 not reading from my book, are you?
            2           MR. FAZEL: No, sir. These are all reversibles
            3 by circuits talking about the type of argument that
            4 Mr. Perez made. With all due respect, I would request a
12:46:59    5 mistrial based on that.
            6           THE COURT: Which is what? For what reason?
            7 State it again.
            8           MR. FAZEL: Sure. Vouching for the
            9 credibility --
12:47:05   10           THE COURT: Hold it. Slow down, please.
           11           MR. FAZEL: I'm sorry. Vouching for the
           12 credibility of the prosecution witnesses.
           13           THE COURT: All right. What is your response?
           14           MR. PEREZ: My response is: Of course I'm going
12:47:12   15 to say that they are good people, Judge.
           16           THE COURT: Well, what about all those cases?
           17           MR. PEREZ: Well, I don't -- I think they are
           18 distinguishable, Your Honor.
           19           THE COURT: You haven't read them, right?
12:47:21   20           MR. PEREZ: I haven't read them. I didn't know
           21 he was going to make that argument.
           22           THE COURT: You heard the cases. Discuss it with
           23 him. Take a look. Okay. If it's marginal or close, we
           24 don't want to jeopardize anything. I can -- if I need to,
12:47:32   25 I'll cure it with an instruction. My inclination now is

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628
               Hearing onDocument 962 Filed
                          Defendant's       in TXSD on 08/16/16 Page 35Vol
                                       Motion                           of 70
                                                                            9 - 35



            1 not to. If it comes close, let me know at the end of the
            2 lunch break. Okay. And if you have no problem with some
            3 sort of a qualifying instruction, I'll consider it, if you
            4 know what I'm saying. Okay.
12:47:49    5           MR. PEREZ: I understand.
            6           THE COURT: I saw nothing wrong with it
            7 initially. But based upon counsel's statements, he has
            8 got cases there. Take a look at them. And if you need --
            9 and we have. We have conceded, all three of us, both the
12:48:03   10 two attorneys and myself, from time to time on
           11 instructions and additions and corrections and pulling
           12 them and putting them in. If you need one out of an
           13 abundance of caution, I'll give it because that's what he
           14 is asking for.
12:48:15   15      However, motion for mistrial is denied.
           16           MR. FAZEL: Yes, sir. I'm going to e-mail it to
           17 the government right now.
           18           THE COURT: Let's put it this way: As an
           19 alternative, do you want an instruction?
12:48:25   20           MR. PEREZ: I think it would be --
           21           THE COURT: Well, hold it. I'm trying to put him
           22 in a box. Okay. Hang on. Motion for mistrial is denied.
           23      Would you, as an alternative, would you want an
           24 instruction?
12:48:36   25           MR. FAZEL: Given the ruling, yes, Your Honor, I

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628
               Hearing onDocument 962 Filed
                          Defendant's       in TXSD on 08/16/16 Page 36Vol
                                       Motion                           of 70
                                                                            9 - 36



            1 would.
            2           THE COURT: All right. Just consider it. I'm
            3 not saying I'm going to do it. See what it says. All
            4 right?
12:48:42    5           MR. PEREZ: Yes, sir.
            6           THE COURT: We'll see you back. The advocacy
            7 never ends. That's all right. That's all right. We'll
            8 see you back ready to resume at, what is it, 1:45.
            9           MR. PEREZ: Thank you, Your Honor.
12:48:54   10      (Recess from 12:48 p.m. to 1:50 p.m.)
           11           THE COURT: All right. What have you discussed
           12 or decided concerning that objection defense counsel has?
           13           MR. PEREZ: Out of an abundance of caution, Your
           14 Honor, an instruction would be fine.
01:51:01   15           THE COURT: All right. What kind of instruction
           16 do you suggest?
           17           MR. PEREZ: Just argument and to follow the
           18 Court's charge and the triers of fact and you are the
           19 judges. Give them instructions. That is basically it,
01:51:16   20 Judge.
           21           THE COURT: Well, what do you say? Insufficient?
           22           MR. FAZEL: I would say it's insufficient, --
           23           THE COURT: What else?
           24           MR. FAZEL: -- for the record. However, if the
01:51:25   25 Court is to instruct, my suggestion is it would be an

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628
               Hearing onDocument 962 Filed
                          Defendant's       in TXSD on 08/16/16 Page 37Vol
                                       Motion                           of 70
                                                                            9 - 37



            1 instruction discussing the fact that witnesses and folks
            2 that work for lawyers and folks that work for the
            3 government and the folks that work for the defense are
            4 just that and that they should not be given any credence
01:51:46    5 to allow the lawyers to inflate the stature of certain
            6 individuals at their table. And I mean that in, of
            7 course, a friendly way.
            8            THE COURT: All right. Okay. Hang on one
            9 second. And you are referring to the comment about an
01:52:29   10 angel, correct?
           11            MR. FAZEL: Correct.
           12            THE COURT: Okay.
           13            MR. FAZEL: I believe it was "angel."
           14            MR. MAGLIOLO: I thought he said angle, Your
01:52:46   15 Honor.
           16      (Laughter.)
           17            THE COURT: Okay. All right. Let's call the
           18 jury in.
           19      (Jury entered courtroom at 1:53 p.m.)
01:54:05   20            THE COURT: Thank you. Be seated.
           21            MR. FAZEL: Can I use the microphone?
           22            THE COURT: Might as well.
           23      Ladies and gentlemen, I'm going to give you an
           24 instruction that, as you noted, that counsel for the
01:54:27   25 government made a comment concerning a deputy to be

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 38Vol
                                                                         of 70
                                                                             9 - 38



            1 considered an angel. Keep in mind that whether you work
            2 for the government or work for the defense, no special
            3 credence should be given as far as extra weight goes just
            4 because someone is classified either as a police officer
01:54:46    5 or an angel or whatever, okay, relative to that.
            6      Any comments by the government attorney or the defense
            7 attorney is not evidence. You will consider the evidence
            8 as submitted to you and the testimony that you receive
            9 during the trial and weigh it as you see fit. All right.
01:55:03   10 The instruction has been given.
           11      Counsel, your time has started. Go right ahead.
           12            MR. FAZEL: Thank you, Your Honor. May I
           13 proceed?
           14            THE COURT: Yes.
01:55:11   15            MR. FAZEL: Thank you. Ladies and gentlemen of
           16 the jury, Mr. Prosecutors, agents.
           17      Ladies and gentlemen, when I first spoke with you ten
           18 days ago or so, I brought out eight points that I recall;
           19 and I took notes from it. I told you who the defendant
01:55:26   20 was. I told you her name, Raquel Medeles-Garcia. I told
           21 you how old she was, 68. I told you that she was from
           22 Mexico. I told you when she was born, and I told you that
           23 she has four children.
           24      And on the first day I told you that you will find out
01:55:43   25 that there is prostitution involved. We knew that on the

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 39Vol
                                                                         of 70
                                                                             9 - 39



            1 first day. In my opening statement I admitted to that,
            2 and I fully admit to that right now. There is no doubt --
            3 there is no debate about the fact that there was
            4 prostitution going on at Las Palmas.
01:55:58    5      But I also told you something else, something that's
            6 fundamental that I want you to keep in mind; and it's very
            7 simple. We are in the federal courthouse in Houston. We
            8 are not at 1201 Commerce, which is the Harris County
            9 courthouse. We are not under Texas law. Under federal
01:56:18   10 law, prostitution is not illegal.
           11      That is a fundamental fact that I want you to keep in
           12 mind. What they are trying to do, my esteemed colleagues
           13 are trying to do, is bootstrap a state case and make it
           14 into a federal case. That's all they are trying to do.
01:56:41   15      Now, I can tell you I'm not going to take all the hour
           16 and 15 minutes. I'm going to give you some time back. I
           17 do want to go over the instructions that the Judge gave
           18 you. I don't want to read it to you again because I know
           19 you guys will take care and read it, but I do want to
01:57:00   20 point out some important things in the instructions that I
           21 want you all to be careful of.
           22      The first one is right off the bat on the second page,
           23 the last -- to the last full paragraph. It simply says
           24 that the charging instrument that you are about to get a
01:57:19   25 copy of is just that, a charging instrument. It puts us,

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 40Vol
                                                                         of 70
                                                                             9 - 40



            1 the accused, the citizen accused, on notice as to what it
            2 is that we are charged with. Now, this is -- the
            3 indictment or formal charges against the defendant is that
            4 paragraph that I'm referring to.
01:57:34    5      There is another part to this that's important. It's
            6 the last sentence. The law does not provide the defendant
            7 -- excuse me, require the defendant to prove his innocence
            8 or produce any evidence at all.
            9      I want you all to understand something. You are the
01:57:52   10 only part of the legal system that presumes a citizen
           11 innocent. It's not the police. It's not the judge. It's
           12 not the lawyers. It's you, the judges of the facts. If
           13 you don't presume someone innocent, the system has failed.
           14      So all this TV stuff you hear about presumption of
01:58:16   15 innocence, all that, put that aside for a second and
           16 understand something. Today you are living it. Because
           17 it is your job and you took an oath that you will presume
           18 the accused innocent in this case. And I'm going to hold
           19 you to that oath. And I promise you so will the accused.
01:58:34   20      The next thing, again, is reasonable doubt. Next
           21 page. It defines "reasonable doubt" for you. I'm not
           22 going to read it for you, but it's important for you to
           23 understand that's the standard.
           24      Why is it so important in this case? It's because
01:58:46   25 there are so many moving parts in this case. The statutes

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 41Vol
                                                                         of 70
                                                                             9 - 41



            1 themselves are confusing. They are confusing to lawyers.
            2 I can tell you, and they can object. This is not in
            3 evidence. But we were here until 6:00 yesterday going
            4 over statute and law. It's confusing to us. So I know
01:59:04    5 it's going to be confusing and time-consuming for you
            6 guys.
            7      I do ask you to take your time reading the statutes
            8 themselves. These are conspiracies to commit underlying
            9 crimes, aiding and abetting to commit underlying crimes.
01:59:19   10 It is -- it's a maze. And the Judge has done a wonderful
           11 job of putting it down on paper for you, but I know it's
           12 confusing. So please keep that in mind.
           13      Now, I want to talk to you about -- I want to talk to
           14 you -- I want to interlay when we go over these documents
01:59:39   15 with the evidence that was provided to you. I just want
           16 to briefly but quickly go through all of that.
           17      Your Honor, if we could have the screen, I would
           18 appreciate it.
           19      Ms. Stoelker, if you could put up the chart. Okay.
02:00:13   20 Whenever you can, double it. I think it's on the bottom,
           21 Karen, on the left.
           22      That is the chart you guys have seen a lot of.
           23 Whoops. That was the chart you all have seen a lot of.
           24      There you go. Thank you, Karen.
02:00:27   25      But this chart is a little different. This chart

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 42Vol
                                                                         of 70
                                                                             9 - 42



            1 deals with --
            2           THE COURT: Do you want to pull that mic, the
            3 little mic, up a little higher.
            4           MR. FAZEL: Yes, Your Honor.
02:00:40    5           THE COURT: There you go.
            6           MR. FAZEL: This charge deals with something
            7 fundamental -- excuse me, Mr. Magliolo. And this is it.
            8 You have to understand that the first count -- and this is
            9 critical. The first count starts sometime in 2009, right
02:00:55   10 here. All the evidence and all the witnesses prior to
           11 this time cannot be considered as far as Count 1 is
           12 concerned unless you are considering it for the statements
           13 that are made in the instructions the Judge gave you, and
           14 I will go over that in a minute.
02:01:16   15      What I need to explain to you all is this: Anything
           16 before 2009, any of the witnesses, any of the ladies who
           17 testified before 2009 are not witnesses, or facts that
           18 they provided to you, are not relevant to the first count.
           19      And here is why. The first count, according to the
02:01:42   20 charging instrument, begins in 2009. Now, what I want to
           21 do is just, if I can, jump to that count. You will find
           22 that on Page 15. It's a conspiracy.
           23      I am going to read this to you. I can't help it. I
           24 think it's the only way to do this. "The defendant and at
02:02:12   25 least one other person made an agreement to commit the

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 43Vol
                                                                         of 70
                                                                             9 - 43



            1 crime of sex trafficking." At least one other person made
            2 an agreement to commit the crime of sex trafficking.
            3      "The defendant knew the unlawful purpose of that
            4 agreement." So there are two people that get together
02:02:33    5 that make an agreement to commit the crime. They have to
            6 have the same mental intent. They have to both agree as
            7 to the crime. They have to agree to it. And they have to
            8 join it willfully. That's what a conspiracy is.
            9      Then it describes what it is, the crime that they
02:02:56   10 agreed to do. And that's what the next paragraphs are
           11 about. So it's a conspiracy to commit the crimes that are
           12 explained behind it.
           13      Now, let's think about that with the facts of the
           14 case. They are alleging that this 68-year-old woman, who
02:03:18   15 I will tell you right now was involved in prostitution,
           16 was in a conspiracy with other people to have sex
           17 trafficking occur.
           18      Here is the problem. Not one single pimp came to
           19 testify. The only one they called a pimp was Mr. Barbosa,
02:03:42   20 if I'm saying his name correctly. He testified that he
           21 had one girlfriend or wife that worked at Las Palmas. Do
           22 you all remember him? He was towards the end. He was one
           23 of the people that allegedly wanted to take over and
           24 manage the place. If you look at that chart --
02:03:58   25      Excuse me, Mr. Magliolo.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 44Vol
                                                                         of 70
                                                                             9 - 44



            1        If you look at that chart, we're talking about this
            2 gentleman right here. This gentleman right here. And the
            3 government was nice enough to put his name for you on this
            4 one. This guy right here.
02:04:12    5        So he and three other people were supposed to manage
            6 it, and they called him a pimp. But throughout the entire
            7 testimony of the trial you heard over and over and over
            8 again what a real pimp is. Every single female that
            9 testified -- and I am not here to tell you that what they
02:04:31   10 went through is okay. That's not what this case is about.
           11 This case is not about what the pimps did to those girls
           12 or didn't do to those girls, whether you believe that or
           13 not.
           14        This case is about whether my client, the defendant,
02:04:45   15 the accused, engaged in a conspiracy involving those
           16 girls. And the answer to that, folks, is no; and they
           17 certainly didn't prove it. Every one of those girls said
           18 the same thing. They were recruited in Mexico. Every
           19 single one. Not by the accused. They were dragged from
02:05:02   20 Mexico into the United States by different means,
           21 different manners, different reasons. Every single one
           22 said that. Every single one said they were brought in by
           23 coyotes illegally. Every single one said that. Every
           24 single one said the money went to them, the pimps, not the
02:05:21   25 defendant. Every single one said that. Every single one

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 45Vol
                                                                         of 70
                                                                             9 - 45



            1 said they did what the pimps asked them to do. They went
            2 where the pimps wanted them to go when the pimps wanted
            3 them to go. Every single one said that. Every single one
            4 said that.
02:05:36    5      So the question I have for you, the thing I want you
            6 all to think about is this: If this is a conspiracy, who
            7 are the other conspirators? Where are they? Where are
            8 these pimps? What happened to them? Why aren't they
            9 here? If they are the conspirators with the defendant,
02:05:55   10 where are they? They are not here. None of them
           11 testified. They don't have a single one.
           12      This is why they don't have the first case, the first
           13 count, because it's not a conspiracy. Think about
           14 something else. They talk about this idea of the -- the
02:06:21   15 idea of these girls coming in with bruises. Do you all
           16 remember that? The bruises? That they had bruises. That
           17 they didn't want the cops to see the bruises and so forth.
           18      So how could it be a conspiracy if they have
           19 recordings talking about the fact that the accused didn't
02:06:37   20 want the bruises to be shown? If it's a conspiracy,
           21 wouldn't they just go talk to the pimps and say, hey, I
           22 can't have girls with bruises coming in. And the pimps
           23 would say, okay, well, I'm not going to do that because
           24 I'm going to lose the money. It defies common sense that
02:06:53   25 these people were working together.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 46Vol
                                                                         of 70
                                                                             9 - 46



            1      You heard over and over and over again the fact that
            2 these girls worked at other bars, that they went where
            3 they were told to go. So if they are working together,
            4 why not just work at her bar? Because they weren't
02:07:07    5 working together. Because these pimps were independent.
            6      I will tell you who the conspiracy is. The conspiracy
            7 are the pimps and the family of the pimps that were
            8 running the girls in Houston. Maybe they ought to charge
            9 them with sex trafficking since clearly they did it. And
02:07:24   10 there is plenty of evidence to that. But there is no
           11 evidence before you that she was involved in any of that.
           12      This is why this case is not something that should be
           13 in this court but should be something in Harris County
           14 because in Texas prostitution is illegal. I agree with
02:07:45   15 you. But not in this court, not before David Hittner,
           16 Judge David Hittner. Sorry, Your Honor. Not before him.
           17      If I'm repetitive, I apologize; but I want to make
           18 sure I hit every point. The pimps transported. They
           19 pimped the girls. They did pimp the girls. They were
02:08:06   20 mean about it. There is no debate about that. I am truly
           21 sorry about that. Nobody likes those facts. They
           22 manipulated the girls, and you heard about it. Some of
           23 the girls fell in love with the pimps. Some of the girls
           24 just -- you wonder sometimes what, for God sakes, but they
02:08:22   25 involved themselves in these activities. That's all true.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 47Vol
                                                                         of 70
                                                                             9 - 47



            1      None of them said, oh, she was the one that did it.
            2 Oh, this lady right here took me from Mexico and brought
            3 me over here and asked me to engage in prostitution. None
            4 of them said that. None of them.
02:08:39    5      They paid for the trip illegally to the United States.
            6 You had girls -- and I know you all heard the testimony --
            7 going back to Mexico on a plane and called their pimps
            8 before they got on the plane. You all remember that
            9 testimony. She had nothing to do with any of that.
02:08:59   10      Then we heard ad nauseam about these rules. You
           11 remember these rules. You remember the talk about the
           12 rules? What is the rules? What is the rules? Let's talk
           13 about those rules. Because there was prostitution,
           14 because the house was involved in prostitution, there was
02:09:15   15 money to be made. And the house had rules. And they had
           16 to pay the house. That's true.
           17      But if this was a conspiracy, why do it that way? You
           18 can take whatever inferences you want from the evidence.
           19 Why not just have the pimps pay them? Why have the girls
02:09:34   20 pay them? Why have these sheets? Why have all this
           21 activity going on about what these girls did? We'll talk
           22 about these sheets and money laundering in a minute.
           23      All this evidence, I would submit to you, shows one
           24 thing. There is no conspiracy. None.
02:09:54   25      Let's talk about the other elements because this is

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 48Vol
                                                                         of 70
                                                                             9 - 48



            1 also important, as well. If you switch to Page 22 --
            2 excuse me, 23 and 24. This is one of the most confusing
            3 parts of this document. On the last page of 24 I'm not
            4 going to -- I don't want to read all this to you, but I do
02:10:25    5 want to encourage you to read some of this. The last full
            6 paragraph. It says, "Proof beyond a reasonable doubt on
            7 one is enough but in order to return a guilty verdict all
            8 must agree that at least one has been proven."
            9      What we are all trying to tell you there is, as the
02:10:46   10 government has said, there are four ways to prove the
           11 underlying charge of sex trafficking, four different ways.
           12 The law requires you to all agree as to one of them, at
           13 least one of them. So if six agree on one, six agree on
           14 the other, you don't have an agreement. All 12 have to
02:11:08   15 agree as to one and at least one.
           16      You have to be unanimous as to which one you agree to.
           17 I want to be very clear about that. So it's not that you
           18 have to pick one. Yes, you have to pick one, at least
           19 one. But you have to also be unanimous as to that one,
02:11:25   20 and that's important for you all to remember. Please keep
           21 that in mind.
           22      All right. Lots of testimony about blue lights. Do
           23 you remember that? There are blue lights here, blue
           24 lights there. Oh, we are worried about police. Yes.
02:11:42   25 Yes. They are worried about illegal activity. Every

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 49Vol
                                                                         of 70
                                                                             9 - 49



            1 witness that you heard about I asked the same question.
            2       Are you worried about HPD?
            3       Yes.
            4       Houston Police Department?
02:11:50    5       Yes.
            6       Are you worried about getting arrested for
            7 prostitution?
            8       Yes.
            9              THE COURT: Slow down a little bit, Counsel,
02:11:55   10 please.
           11              MR. FAZEL: Yes, Your Honor. I'm sorry.
           12       That's what they were worried about, not sex
           13 trafficking. They had no idea the feds were doing this.
           14 They were worried about HPD and vice. And HPD and vice
02:12:10   15 came in a couple of times. There is a video recording of
           16 it.
           17       Okay. I'm going to talk to you a little bit about
           18 each one of the girls that testified just briefly and hit
           19 them very, very briefly. I'm not looking to go over
02:12:34   20 everything they said, but I wanted to talk to you just
           21 briefly about each one of them.
           22       XXXXXXXXXXXXXXXXXXXX was the first lady who testified.
           23 There is one defense exhibit in evidence, and that's her
           24 statement. Please compare what she told you to what she
02:12:52   25 swore an oath to before. I don't want to call her a liar,

                              Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 50Vol
                                                                         of 70
                                                                             9 - 50



            1 but I'm telling you it is completely different. Nobody
            2 ever said that they were locked up in rooms. As a matter
            3 of fact, everybody said I don't know what you are talking
            4 about. Nobody said, Oh, we were locked up in Las Palmas.
02:13:16    5 Nobody but her.
            6      What happened to her was terrible. I agree. But is
            7 she making it bigger? I don't know. That's your job to
            8 make that decision. I am glad it's not mine. Is she
            9 making a bigger deal than what happened to her? Is she
02:13:35   10 conflating? Is she confused? Is she just angry and mad?
           11 I don't know. I don't know. But I can tell you her
           12 statement was written, and what she told you all is
           13 completely different.
           14      The next lady who testified, her last name was
02:13:51   15 XXXXXXXX. I'm just going to use the last name. She was
           16 not a minor. Her pimp -- and I'm going to name every one
           17 of these pimps for you -- Armando Flores. They fell in
           18 love. She was 24 years old in the United States. She is
           19 another one that I confronted with her sworn statement on
02:14:12   20 cross-examination. I know you remember the testimony. I
           21 don't want to go into it. She is the one that was the one
           22 that escaped from her pimp, called him on the way to
           23 Mexico and said I'm coming and flew back to Mexico and
           24 then came back into the country again.
02:14:31   25      The next one they talked about was XXXXXXXXXXXXXX.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 51Vol
                                                                         of 70
                                                                             9 - 51



            1 Her pimp, Ivan Salazar. She engaged in prostitution for
            2 two years in Mexico before she came into the country. She
            3 worked at four locations, at least, as well as Las Palmas.
            4 And she was arrested on a raid in 2006 and deported from
02:14:58    5 the United States. That's it.
            6      The first one -- excuse me, the second one I asked
            7 her, Was it your pimp that told you where to go?
            8      Yes.
            9      Was it your pimp that told you how much money to make?
02:15:10   10      Yes.
           11      Was it your pimp that told you what to do with the
           12 money?
           13      Yes.
           14      Every single one of these girls said that. Every
02:15:17   15 single one of them said the pimp is the one that did it.
           16      The next one, XXXXXXXXXXXXXXXXX. She was a minor in
           17 Mexico when she met her pimp. She fell in love with her
           18 pimp. Her pimp's name is Luis Moreno-Salazar. Perhaps a
           19 codefendant in a conspiracy not involving this defendant
02:15:36   20 but the actual conspiracy, the real thing that happened,
           21 which is these pimps, the criminals. She changed her
           22 story several times with immigration, at least this is
           23 what she told us.
           24      The next one is XXXXXXX -- Ms. XXXXX, if I'm saying
02:16:01   25 that name correctly. Excuse me if I'm not. Her pimp's

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 52Vol
                                                                         of 70
                                                                             9 - 52



            1 name was Solomon Guzman-Lila. This is the young lady who
            2 went from Houston to Florida and then back to Houston.
            3 And this is the one that we confronted with the fact that
            4 she could not identify previously the defendant as easily
02:16:18    5 as she could identify in court. You can take whatever
            6 thought into that as you will. You heard several times
            7 that I asked whether these folks had met with the
            8 government before testifying and whether they have seen
            9 photos before they testified and took the stand and said,
02:16:31   10 oh, yeah, yeah, that's Tencha. It's a lot easier when her
           11 picture is right there with her name underneath it. It's
           12 not that complicated.
           13      The next one is XXXXXXXXXXXXX. Her pimp's name was
           14 Gerardo Salazar. Again, the same stuff. Over and over
02:16:52   15 again the same things. All these girls said the same
           16 things. That they were the pimps that controlled them.
           17 They were the pimps that told them where to go. The pimps
           18 that told them how much money to make, how much money to
           19 charge.
02:17:07   20      I'm going to skip to XXXXXXXXXXXXX. Ms. XXXXX was a
           21 young lady who had an affair with one of the confidential
           22 sources, the first one, Mr. Cepeda. Mr. Cepeda admitted
           23 to having sex with a 16-year-old to this detective right
           24 here. And according to my notes, he made that admission
02:17:35   25 in 2013, April. That confidential source was still

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 53Vol
                                                                         of 70
                                                                             9 - 53



            1 allowed to continue to do his activities.
            2      This detective got on the witness stand and said, Oh,
            3 she said that he is lying. It didn't happen.
            4      He got on the witness stand and said, I'm offended at
02:18:01    5 these girls wearing short skirts; but then, I decided to
            6 have sex with one of them, over again, a couple of times.
            7 Oh, and I dated her. But I was offended. That
            8 confidential source we'll talk about in a second.
            9      Ms. XXXXX admitted that she was allowed to travel
02:18:23   10 freely, that she was allowed to date other people and she
           11 was allowed to go out.
           12      Ms. XXXXXXXXX or Ms. XXXXX, I'm not sure which name is
           13 correct, was the next one. She was the one that met her
           14 -- again, her pimp in Mexico. And she was also in Las
02:18:51   15 Palmas for a short period of time. And a lot of these
           16 gals were there for a short period of time. Again, I know
           17 you all remember this. I don't want to repeat everything
           18 that you heard. Her pimp, by the way, was Clemente
           19 Melendez.
02:19:11   20      Ms. XXXXX was a minor. This is the young lady who we
           21 heard about that fell in love with her pimp, came to the
           22 United States because she thought she was doing him a
           23 favor. She thought that she was her -- his wife, found
           24 out she wasn't and then got upset; and she was allowed to
02:19:28   25 leave.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 54Vol
                                                                         of 70
                                                                             9 - 54



            1      Now, what is interesting about that is this: When I
            2 confronted her with the fact, did anybody at Las Palmas
            3 stop you from leaving?
            4      No.
02:19:36    5      Could you leave if you wanted to?
            6      Yeah.
            7      She left, and she heard from somebody at Las Palmas
            8 about another place of prostitution in Chicago. So she
            9 went to Chicago and continued to prostitute herself.
02:19:48   10      Again, I'm not saying this is a good thing. I'm just
           11 saying this is what she said. She came back to Houston;
           12 and then, they got her.
           13      If this is a sex trafficking case involving a
           14 conspiracy, why is it that these girls when they can leave
02:20:04   15 whenever they want and come whenever they want, where is
           16 the slavery of it other than --
           17            THE COURT: The what? Speak up a little bit,
           18 please.
           19            MR. FAZEL: I'm sorry. Where is the slavery of
02:20:14   20 it unless you look at the pimps? They are the folks that
           21 are enslaving them.
           22      Juan Cepeda, the first confidential source. He was
           23 arrested and then decided to become a confidential source
           24 at some point in time. He is the one that had sex with
02:20:38   25 XXXXXXXXXXXXX. He decided when to turn on the recorder

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 55Vol
                                                                         of 70
                                                                             9 - 55



            1 and when to turn off the recorder. He got paid for his
            2 services. He wasn't deported. He got to keep the money
            3 he made when he was working there.
            4        And, of course, I'm sure there is no recording of him
02:20:59    5 dating XXXXXXXXXXXXX. I'm sure the government would have
            6 turned that over. One of the other things he did when he
            7 didn't have the recording on. They never charged him with
            8 sexual assault. If you believe their story, the
            9 government's story, then he ought to be charged along with
02:21:20   10 the accused that's sitting before you here today. He is
           11 not.
           12        And the other source, Juan Carlos Munoz, he has
           13 recordings of them talking about pimps. Okay. The
           14 government wants you to believe just because somebody
02:21:43   15 knows that there are pimps out there that makes them a
           16 conspirator.
           17        Please don't agree with that. And here is why. In
           18 order to have a conspiracy, you have to have an agreement
           19 between two people. And that agreement has to be clear.
02:22:00   20 The intent has to be the same for two people if there is
           21 nobody that they are presenting to you that's a
           22 conspirator, not one single person that you can think of
           23 that took that witness stand and you can say, "Oh, that's
           24 her conspirator." Not a single one of them.
02:22:17   25            MR. MAGLIOLO: Your Honor, we have to object to

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 56Vol
                                                                         of 70
                                                                             9 - 56



            1 that. That's not the law that a conspirator has to take
            2 the witness stand and testify. It is clearly not the law,
            3 Your Honor.
            4           MR. FAZEL: Your Honor, may I respond?
02:22:24    5           THE COURT: Yes.
            6           MR. FAZEL: I can certainly argue that. I'm not
            7 saying that's the law. I can certainly say they could
            8 have easily got one and put them on the witness stand.
            9 That's an argument.
02:22:34   10           MR. MAGLIOLO: As long as he concedes it's not
           11 the law, Your Honor, I have no objection.
           12           THE COURT: All right. Continue, please.
           13           MR. FAZEL: Here is what I do concede.
           14           THE COURT: By the way, just a moment, if any of
02:22:40   15 you people can't see behind the pole, you are free to move
           16 throughout the courtroom. I just want to let you know
           17 that. Okay. I can't do anything with that pole. All
           18 right. Even with all those screens.
           19      Okay. Go on, please.
02:22:52   20           MR. FAZEL: Thank you, Your Honor.
           21      Here is what I do concede. Here is the charge the --
           22 that the Judge gave you. The defendant and at least one
           23 other person made an agreement to commit the crime of sex
           24 trafficking as charged in the indictment, made an
02:23:05   25 agreement to commit the crime of sex trafficking. That

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 57Vol
                                                                         of 70
                                                                             9 - 57



            1 doesn't -- they don't have that here.
            2      Then we had the three individuals. Mr. Barbosa came
            3 on the witness stand and testified. His nickname was Eli.
            4 He talked about when they allegedly became the managers
02:23:28    5 there. What is interesting to me there was, again, the
            6 one thing that I have already told you about, which is
            7 that each one of those three managers -- and they are up
            8 there. I'll go with nicknames: Eli, El Pantera, and
            9 Mr. Flores -- Mr. Mendez-Flores.
02:23:43   10      Every one of them had either girlfriends working there
           11 or wives that were working there. Neither one of them
           12 were pimps. None of them -- there is no testimony that
           13 any of them forced anybody to do anything. Not one.
           14      And, by the way, in cross-examination we found out
02:24:02   15 that Teloxa-Barbosa was actually just charged with one
           16 count of harboring. No sex trafficking. He was running
           17 the place. So if he is not sex trafficking, then why is
           18 Ms. Medeles-Garcia sex trafficking? Because she is not.
           19      I want to talk to you about XXXXXXXXXXXXXXXXXXXXX.
02:24:39   20 She was the young lady that was on the witness stand
           21 towards the end. She worked at Las Palmas for eight
           22 months. I do want to concentrate on her a bit because she
           23 said two things that I thought were very interesting.
           24 First of all, she said she heard girls talking about the
02:24:53   25 fact that if they say certain things they were able to

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 58Vol
                                                                         of 70
                                                                             9 - 58



            1 obtain immigration documents. She heard that. She
            2 testified to that. She also testified to the fact that
            3 the girls were talking about all the times their pimps
            4 would take them out to have fun and go out.
02:25:09    5      Why do I say this? Because I want to talk about
            6 something that's fundamental that's missing with the
            7 government's case, as well. The government, in order to
            8 make their case as far as money laundering -- and I'm
            9 going to go into the money laundering now.
02:25:25   10           THE COURT: Raise your voice a little bit.
           11           MR. FAZEL: Each one of those counts -- sorry,
           12 Your Honor. I just don't want to scream.
           13           THE COURT: Your voice is just trailing off a
           14 little.
02:25:32   15           MR. FAZEL: Each one of those counts -- I
           16 apologize. Thank you. Each one of those counts involved
           17 moneys obtained from sex trafficking.
           18      Do you remember the sheet that Mr. Perez put up there?
           19      Ms. Stoelker, can you pull that up? I forget the
02:25:52   20 exhibit number.
           21      I found something interesting about this the entire
           22 time of the case.
           23      If you can. I think it's Exhibit 39.
           24           MS. STOELKER: I've got it.
02:26:19   25           MR. FAZEL: In all fairness, Ms. Stoelker hasn't

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 59Vol
                                                                         of 70
                                                                             9 - 59



            1 done this before. This is her first time. So it's okay.
            2 Take your time.
            3           MS. STOELKER: It's my mouse. I'm sorry.
            4           MR. FAZEL: Do you mind doing it for me?
02:26:37    5           MS. POUNCEY: No.
            6           MR. FAZEL: Judge, can we switch to the
            7 government so that we can -- I hate to do that to
            8 Ms. Stoelker.
            9           MR. PEREZ: We have to plug in, Your Honor.
02:26:48   10           MS. STOELKER: Thanks, Lolita.
           11           MR. FAZEL: While they are doing that, I want you
           12 to look at, if you don't mind, looking at the counts
           13 involving money laundering. These would be on Page 27.
           14 Again, somewhat convoluted because it's actually not money
02:27:15   15 laundering. It's aiding and abetting money laundering.
           16 But look at Page 29.
           17      Thank you.
           18           THE COURT: I think you have got it up there now.
           19 You want, what, 39? Or do you want to look at money
02:27:36   20 laundering first?
           21           MR. FAZEL: While she was pulling it up, if you
           22 don't mind pulling it up and leaving it up there.
           23      Thank you, ma'am. Thank you. That is perfect. On
           24 Page 29 at the very end of it, please, for the totals.
02:27:45   25      On Page 29 it talks about money laundering and the

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 60Vol
                                                                         of 70
                                                                             9 - 60



            1 elements of money laundering. Starting on the top of the
            2 page you'll see that it says the offense of money
            3 laundering alleged in Counts 3, 4 and 5. And then it
            4 talks about it has to be associated with a venture, just
02:28:02    5 like any aiding and abetting. Then it goes down the page
            6 and it talks about Count 3, Count 4 and Count 5 are about
            7 the same thing except different activities that they are
            8 calling money laundering.
            9      But if you go to Page 30 it will tell you on the sixth
02:28:22   10 element, excuse me, which involved proceeds of specified
           11 unlawful activity, that is sex trafficking. Look at that.
           12 Mr. Perez said, Oh, any sex trafficking. Okay. Let's
           13 take any sex trafficking.
           14      Well, here is my problem. Do you see all those
02:28:39   15 numbers up there? We know -- let's assume for the sake of
           16 argument this all came from Las Palmas and from
           17 prostitution. How do we know that all this money came
           18 from folks that were forced, coerced, duressed? We don't.
           19 They are wanting you to believe that. They are making
02:28:59   20 that giant leap. There is no proof. They didn't put on
           21 one single piece of evidence that shows all this money was
           22 from all girls --
           23           MR. MAGLIOLO: We would have to object again,
           24 Your Honor. Counsel is misstating the law that all the
02:29:11   25 money has to come from sex trafficking. Just proceeds

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 61Vol
                                                                         of 70
                                                                             9 - 61



            1 have to come. Not all the proceeds, not all the money.
            2 Proceeds come from it, Your Honor.
            3           THE COURT: All right. Continue.
            4           MR. FAZEL: Thank you, Your Honor.
02:29:21    5      Do you remember Mr. Perez going out there and saying,
            6 look at how many times these poor girls went in there,
            7 64,000 times? Here is the problem with that theory. We
            8 don't know which girls, and we don't know if they were
            9 forced.
02:29:33   10      And here is another thought. Do you remember Agent
           11 Perry, Pierre Perry, talking about there were 30 people
           12 that were arrested and these 30 people were deported and
           13 most of them were women? Surely if these women that were
           14 arrested at the very end, surely if they were trafficked,
02:29:49   15 surely if they were forced and coerced, surely these
           16 able-bodied prosecutors would have stopped and said these
           17 are witnesses. And they didn't. They deported all of
           18 them.
           19      So when you look at this charge --
02:30:01   20           MR. MAGLIOLO: We have to object again. We don't
           21 deport people, Your Honor. So we object to him saying we
           22 deported some people. We didn't deport anybody.
           23           MR. FAZEL: I'm sorry, Your Honor. I'm not sure
           24 who deports people other than the United States
02:30:12   25 Government.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 62Vol
                                                                         of 70
                                                                             9 - 62



            1           THE COURT: Just keep going.
            2           MR. FAZEL: I'll move forward.
            3           THE COURT: Keep going.
            4           MR. FAZEL: So before you do that, just keep that
02:30:19    5 in mind that these proceeds that they have starting on
            6 Page 30, the $22,265.78; Page 31, the $21,330.28; and
            7 Page 32, the $26,242.36 have to be involved in sex
            8 trafficking. They didn't prove that. They just didn't do
            9 it. They didn't connect the dots. You have no idea where
02:30:48   10 that money came from. You know it came from Las Palmas.
           11 Let's assume that for a second. Let's just assume that.
           12      What you don't know is if it's young ladies who were
           13 forced, coerced or not. Because even every single witness
           14 said there are over 30 women there a night, and they
02:31:08   15 brought you 12. And I would submit to you even if those
           16 folks were coerced, the defendant didn't know about them.
           17 And even if they were, that's only 12 of them.
           18      This is why I would respectfully submit to you that
           19 the answer to the money laundering counts, all of them,
02:31:33   20 including the last one on Page 36, the fifth element,
           21 which transactions involved proceeds of specified unlawful
           22 activity, even that element they didn't prove.
           23      Judge, how much time do I have? I'm sorry.
           24           THE COURT: You've used 37 minutes.
02:32:07   25           MR. FAZEL: Thank you.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 63Vol
                                                                         of 70
                                                                             9 - 63



            1      When I first started I told you that you all took an
            2 oath and that you guys are the people that assume her
            3 innocent. She has absolutely no duty to testify. It's in
            4 the charge. Absolutely no duty to put on evidence.
02:32:30    5 That's in the charge. And she has a lawyer who tells her
            6 what his opinion is, and she followed it. Don't hold that
            7 against her. Hold it against me.
            8      I would submit to you that what you have seen today
            9 and this week and the previous week is simply that they
02:32:53   10 have a prostitution case and they are trying to boost up a
           11 federal case in front of it. I would ask for you to
           12 return a not guilty verdict as to every single count and
           13 send her home.
           14      They had confidential sources that they didn't charge
02:33:11   15 with zero to life counts like they charged the defendant.
           16 They had co-defendants that they brought in. They brought
           17 her children in to testify against their mother, and every
           18 single one said the same thing. Yeah, we knew about
           19 prostitution; but nobody sex trafficked, nobody enslaved
02:33:28   20 anybody. We don't know what you are talking about. Every
           21 one of them said there was nobody locked up anywhere.
           22 These are their witnesses. They brought them in. They
           23 charged them; and then, they gave them a reduction in
           24 time.
02:33:44   25      And they charged a 68-year-old woman with a zero to

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 Document 962
               Closing Statement       FiledFazel
                                   by Mr.    in TXSD on 08/16/16 Page 64Vol
                                                                         of 70
                                                                             9 - 64



            1 life count. Didn't bring you a single pimp. Didn't bring
            2 you anybody like that.
            3      I ask you to do what I think is the legally correct
            4 thing to do, which is to find her not guilty of every
02:34:07    5 single count in this case. They talked about the fact
            6 that, oh, there is a human trafficking statute that
            7 Congress has passed; and there is funding for it. Sure.
            8 I understand that. And I appreciate the fact that they
            9 want to use those funds and they feel like they need to
02:34:26   10 charge people. I appreciate that, too.
           11      But this particular case involving these particular
           12 facts, the only correct answer, I would submit to you, is
           13 a verdict of not guilty as to all counts. Thank you for
           14 your time.
02:34:42   15           THE COURT: Okay. Why don't you shift over the
           16 microphone.
           17           MR. MAGLIOLO: If it's okay with the Court, I'm
           18 just going to get a little closer to them.
           19           THE COURT: Move wherever you want. It doesn't
02:34:53   20 matter. You can stand up there. Okay. Hang on one
           21 second. Let me get the time straight.
           22           MR. MAGLIOLO: Am I on?
           23           JURORS: Yes.
           24           THE COURT: You have 27 minutes left.
02:35:03   25           MR. MAGLIOLO: Thank you, Your Honor.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 65Vol
                                                                         of 70
                                                                             9 - 65



            1           THE COURT: All right. Are you ready?
            2           MR. MAGLIOLO: Yes, sir.
            3           THE COURT: All right. Go right ahead.
            4           MR. MAGLIOLO: The good news is I'm not going to
02:35:10    5 take very long. It's just I'm almost -- well, I need to
            6 respond to a couple of things counsel for the defense
            7 said. He spent a lot of time talking about what's a
            8 conspiracy and what is not. You look at your charge.
            9      Conspiracy is just an agreement. What is the
02:35:25   10 agreement? The agreement is to engage in sex trafficking.
           11 It takes two things, primarily, to engage in the sex
           12 trafficking; that is, the girl and a place to commit sex
           13 acts.
           14           MR. FAZEL: Objection, Your Honor. That's
02:35:38   15 incorrect. That's a misstatement of the law.
           16           THE COURT: How so?
           17           MR. MAGLIOLO: Yeah. How so?
           18           MR. FAZEL: That it takes two things to sex
           19 traffic. No, actually, it takes seven elements to sex
02:35:49   20 trafficking. It's in the charge.
           21           THE COURT: Ladies and gentlemen, you consider
           22 the law as I have provided it to you. It's all written in
           23 there. You heard the objection.
           24      Now you may move on, please.
02:35:57   25           MR. MAGLIOLO: Two of the things that it takes

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 66Vol
                                                                         of 70
                                                                             9 - 66



            1 that have to be involved in sex trafficking are the girls
            2 and a place to commit it.
            3      The agreement is we bring the girls. The defendant
            4 supplies the place, and everybody makes money. That's the
02:36:14    5 agreement. If you are part of that agreement, then you
            6 are in the sex trafficking conspiracy.
            7      Counsel went over some of the charge with you; but he
            8 neglected, accidentally, to go over perhaps other parts of
            9 the charge.
02:36:31   10      Okay. So that's one way for her to be guilty is tacit
           11 agreement and, again, you look to your charge and it talks
           12 about conspiracy.
           13           MR. FAZEL: Object to the term "tacit agreement."
           14           THE COURT: Overruled.
02:36:44   15           MR. MAGLIOLO: It doesn't -- it explains it
           16 doesn't have to be a formal agreement. It's an agreement
           17 that doesn't have to be spoken, words spoken; and it tells
           18 you everybody doesn't have to agree to it. In fact, you
           19 just commit one one time; and you are in the conspiracy.
02:36:59   20 But that's one way to do it, be part of the -- conspire to
           21 be part of the sex trafficking conspiracy.
           22      The other way, which counsel forgot to mention, was
           23 all you have to do is conspire with someone to benefit
           24 financially from the sex trafficking conspiracy. So even
02:37:17   25 if she wasn't part of the sex trafficking conspiracy, if

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 67Vol
                                                                         of 70
                                                                             9 - 67



            1 she conspired with someone like her employees who all made
            2 money off this deal to benefit from the sex trafficking
            3 conspiracy that his pimps, he talks about, were doing and
            4 he admits, then she is guilty. Again, as long as either
02:37:36    5 the girls were forced and/or the girls were underage. She
            6 doesn't even have to know that if she unreasonably
            7 disregards it.
            8           MR. FAZEL: Your Honor, I'm sorry. I'm going to
            9 have to object again. Counsel is misstating the law. The
02:37:55   10 law on Page 15 is clear.
           11           THE COURT: Hang on. Put the microphone on,
           12 please.
           13           MR. FAZEL: As to the first element on Page 15
           14 it's crystal clear. So he is misstating the law to the
02:38:04   15 jury.
           16           THE COURT: Which one?
           17           MR. FAZEL: Well, on Page 15.
           18           MR. MAGLIOLO: It's knowing or reckless
           19 disregard, Your Honor.
02:38:10   20           THE COURT: The jury has it in front of them.
           21 You have heard both sides.
           22           MR. MAGLIOLO: She does not have to know. Look
           23 at it. It is there. She does not have to know they are
           24 underage. She does not have to know they are forced.
02:38:20   25 Know or recklessly disregard. I'm not going to go through

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 68Vol
                                                                         of 70
                                                                             9 - 68



            1 all the facts. You guys heard them.
            2      And I'm not going to read through the definitions of
            3 conspiracy and all it explains to you. Just a couple of
            4 lines. Again, the government need not prove the defendant
02:38:38    5 entered any formal agreement with the conspirators nor
            6 that they directly stated among themselves all the details
            7 of the scheme.
            8      Similarly, the government need not prove that all the
            9 details of the schemes alleged in the indictment were
02:38:54   10 actually agreed on or even carried out nor must it prove
           11 that all the persons alleged to have been members of the
           12 conspiracy were such or that the alleged conspirators
           13 actually succeeded in even accomplishing their goals.
           14 Again, all in the charge.
02:39:14   15      Two or three other things, and I'll sit down. You'll
           16 probably get a copy of the indictment sent back with you.
           17 The rules are we have to plead in the conjunctive, prove
           18 in the disjunctive.
           19           THE COURT: What do you mean by that?
02:39:27   20           MR. MAGLIOLO: In the indictment it will say
           21 "and", "and", "and." What we -- what you have to
           22 determine is in the Judge's charge, and most of it are
           23 alternate means. So it's "or." Even though it's pled
           24 "and" in the indictment, you have -- the charge determines
02:39:44   25 what you all have to do as it reads "or." It's just a

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 69Vol
                                                                         of 70
                                                                             9 - 69



            1 legal kind of thing that we're forced to do.
            2      A little bit about interstate. If the girls crossed
            3 in from Mexico, crossed lines, you can use that to find
            4 interstate commerce along with the prophylactics crossing
02:40:04    5 from, I think, Tijuana to -- or Taiwan to California and
            6 then to Houston.
            7      We had some overt act language. Every act would be an
            8 overt act. I think there were 16,000 sex acts they talked
            9 about generating that money over a 20-month period or
02:40:25   10 64,000. That's 64,000 overt acts.
           11           MR. FAZEL: Judge, I object. That's a
           12 misstatement of the law. It's just not.
           13           THE COURT: Go on. No. State your point.
           14           MR. FAZEL: It's just a misstatement of the law.
02:40:35   15           THE COURT: All right. You got the law from me.
           16 I think it's clear. That's what you are to follow.
           17           MR. MAGLIOLO: As far as the money in the money
           18 laundering coming from the sex conspiracy at Las Palmas,
           19 again, even her own son, David Garcia, testified that the
02:40:55   20 money came from Las Palmas. Again, David Garcia, when you
           21 are thinking about whether she was trying to disguise the
           22 nature, where her money came from, he said when put in his
           23 name he had absolutely no control over any of the
           24 properties that were bought with the Las Palmas moneys
02:41:13   25 that were put in his name.

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
       Case 4:13-cr-00628 DocumentStatement
               Rebuttal Closing    962 Filed inby
                                                TXSD
                                                  Mr.onMagliolo
                                                        08/16/16 Page 70Vol
                                                                         of 70
                                                                             9 - 70



            1      On Counts 3, 4 and 5 each one was a deal buying land,
            2 putting the money into it. We show you in those counts
            3 and in the counts I proved the checks, the number of
            4 checks and you all saw all the evidence. I believe every
02:41:34    5 single one of those checks was signed by the defendant
            6 even though she put the property in other folks names.
            7      Counsel talked about some of the statements that he
            8 brought out, the affidavits that the girls had done that
            9 didn't have all the details in them. Perhaps most of you
02:41:55   10 all have done affidavits. Affidavits go to a certain
           11 purpose. Those affidavits had to do with them getting
           12 status, not to do with what -- this particular crime.
           13      Also, he talked about proceeds from the specified
           14 unlawful activity. It doesn't say all proceeds. It just
02:42:19   15 says proceeds from a specified unlawful activity.
           16      If you have any question, the charge lays it out in
           17 detail. Look at it. Based on the evidence and only the
           18 evidence, the credible, believable evidence, there is
           19 sufficient evidence for you to find the defendant guilty
02:42:39   20 on all counts. Thank you very much.
           21      (End of requested excerpt.)
              Date: August 4, 2016
           22                 COURT REPORTER'S CERTIFICATE
                  I, Laura Wells, certify that the foregoing is a
           23 correct transcript from the record of proceedings in the
              above-entitled matter.
           24
                                       /s/ Laura Wells
           25                     Laura Wells, CRR, RMR

                             Laura Wells, RMR, CRR - LauraWellsCSR@comcast.com
